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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                  ABINGDON DIVISION


   UNITED STATES OF AMERICA                     )
                                                )
   v.                                           )       Case No.: 1:17-CR-00027
                                                )
   JOEL A. SMITHERS                             )


        GOVERNMENT’S POSITION IN SUPPORT OF GOVERNMENT’S MOTION
                  FOR DETENTION OF JOEL A. SMITHERS

           This matter is before the Court on remand from the United States Court of Appeals

   for the Fourth Circuit. On March 7, 2024, the parties convened before the Court for a status

   conference, in which the Government moved for detention of Joel A. Smithers. For the

   reasons that follow, based on the presumption of detention, the nature and circumstances

   of the charged offenses, and the weight of the evidence against Smithers, the Government

   respectfully submits that no condition or combination of conditions can reasonably assure

   Smithers’ appearance before the Court, and Smithers should be detained pending retrial. 1

   I.      Background.

           On August 10, 2017, the Government filed a Criminal Complaint against Smithers

   charging him with one count of possession with the intent to distribute Schedule II

   controlled substances, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C). ECF No. 3.

   Smithers initially appeared before the Court five days later, and the Court released him on



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    References herein to “JA” are to the “Joint Appendix” filed before the Fourth Circuit on Smithers’
   appeal. Case No. 19-4761, ECF No. 54.
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   bond. ECF Nos. 8, 10. Thereafter, the Government charged Smithers pursuant to an

   Indictment with one count of possession with intent to distribute hydrocodone,

   hydromorphone, oxycodone, oxymorphone, methadone, and morphine, in violation of 21

   U.S.C. § 841(a)(1), (b)(1)(C). ECF No. 23. On December 18, 2017, the Government filed

   a Superseding Indictment, which contained the same count as the original Indictment as

   Count One. ECF No. 36. In addition, the Superseding Indictment charged Smithers with

   one count of maintaining a place for the purpose of unlawful distribution, in violation of

   21 U.S.C. § 856 (Count Two), and 714 counts of unlawful distributing and dispensing of

   Schedule II controlled substances, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C). ECF

   No. 36.

         The Government filed a Second Superseding Indictment on September 27, 2018,

   which remains the operative charging document. ECF No. 80. The Second Superseding

   Indictment charged Smithers in the same counts as the Superseding Indictment but added

   146 counts of unlawful distributing and dispensing of Schedule II controlled substances,

   for a total of 860 counts of the same (Counts Three through Eight Hundred Sixty-Two).

   Id. Counts 298 and 299 alleged that death resulted from the use of the controlled

   substances. Id.

         On April 24, 2019, the Court granted the Government’s motion to dismiss Count

   101. ECF No. 166. Following an eight-day trial, a jury found Smithers guilty on all of the

   remaining counts, ECF No. 205, and the Court remanded him into custody, ECF No. 203.

   The Court denied Smithers’ motion for reconsideration of bond, ECF No. 223, and the

   Court denied Smithers’ motion for acquittal on all counts except Count One, ECF No. 256.

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   The Court sentenced Smithers to a total term of 480 months of imprisonment on October

   2, 2019, ECF No. 283, and Smithers’ appeal followed, ECF No. 285.

          While Smithers’ appeal was pending (and after being placed into abeyance), the

   Supreme Court of the United States decided Ruan v. United States, 597 U.S. 450 (2022).

   United States v. Smithers, 92 F.4th 237, 245 (4th Cir. 2024).           The Supreme Court

   determined in Ruan that the mens rea requirement under § 841—that is, whether the

   defendant “knowingly or intentionally” manufactured, distributed, or dispensed a

   controlled substance “except as authorized”—extended to the “except as authorized”

   clause. Ruan, 597 U.S. at 457. Thus, § 841 requires the government to prove “that the

   defendant knowingly or intentionally acted in an unauthorized manner” after the defendant

   satisfies his “burden of producing evidence that his or her conduct was ‘authorized.’” Id.

           The Fourth Circuit subsequently vacated and remanded Smithers’ convictions on

   all counts. Smithers, 92 F.4th at 252. The Fourth Circuit found that the jury instructions

   on the 859 distribution counts failed to instruct the jury on the correct mens rea requirement

   under Ruan, and that such error was not harmless. Id. at 248, 252. The court further held

   that because “the conviction on Count [Two] effectively rested on the unlawful-distribution

   convictions, the error in the Count [Two] instructions also wasn’t harmless.” Id. at 252.

          The Fourth Circuit issued its mandate on February 26, 2024, ECF No. 323, and the

   parties convened for a status conference before the Court on March 7, 2024, ECF No. 328.

   Smithers waived his right to a speedy trial, and the Court scheduled a three-week trial

   beginning on December 2, 2024. ECF Nos. 329, 335, 337. At the status conference,

   Smithers inquired as to whether he would be released pending retrial. The Government

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   moved for Smithers’ detention pursuant to 18 U.S.C. § 3142(f), ECF No. 331, and the

   Court continued the detention hearing until April 2, 2024, ECF No. 336.

   II.    Legal Standard.

          Following a hearing, the court must detain a defendant pending trial if it “finds that

   no condition or combination of conditions will reasonably assure the appearance of the

   person as required and the safety of any other person and the community.” 18 U.S.C.

   § 3142(e)(1). If the court “finds that there is probable cause to believe that the [defendant]

   committed-- an offense for which a maximum term of imprisonment of ten years or more

   is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.) . . . ,” as is the case

   here, then subject to rebuttal by the defendant, “it shall be presumed that no condition or

   combination of conditions will reasonably assure the appearance of the person as required

   and the safety of the community.” Id. § 3142(e)(3), (e)(3)(A).

          In a presumption case, “the burden of production shifts to the defendant to come

   forward with evidence to suggest that the presumption is unwarranted in his or her

   particular case.” United States v. Drake, No. 5:22-cr-00008, 2023 WL 213917, at *2 (W.D.

   Va. Jan. 12, 2023) (quoting United States v. Boyd, 484 F. Supp. 2d 486, 488 (E.D. Va.

   2007)). The burden of persuasion remains on the Government. Id. (citation omitted).

   “Should the defendant satisfy his or her burden of production under 18 U.S.C. § 3142(f),

   the United States must then show by a preponderance of the evidence that the defendant

   presents a risk of flight, or by clear-and-convincing evidence that the defendant presents a

   danger to the community.” United States v. Rodriquez, 147 F. Supp. 3d 1278, 1286

   (D.N.M. 2015) (citation omitted); cf. United States v. Stewart, 19 F. App’x 46, 48 (4th Cir.

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   2001) (“With regard to the risk of flight as a basis for detention, the government must prove

   by a preponderance of the evidence that no combination of conditions will reasonably

   assure the defendant’s presence at future court proceedings.”).

            The factors to be considered in determining whether to release a defendant
            pending trial are set forth in 18 U.S.C. § 3142(g) and include: (1) nature and
            circumstances of the offenses charged; (2) the weight of the evidence against
            the person; (3) the history and characteristics of the person, including family
            ties, the person’s character, ties to the community, and criminal history; and
            (4) the nature and seriousness of the danger to any person or the community
            that would be posed by the person’s release.

   Stewart, 19 F. App’x at 48.

            Courts have held that “[e]ven if a defendant’s burden of production is met, the

   presumption remains a factor for consideration by the district court in determining whether

   to release or detain.” See, e.g., United States v. Stricklin, 932 F.2d 1353, 1355 (10th Cir.

   1991).

   III.     Discussion.

            Smithers has not rebutted the presumption of detention in this case based on the

   nature and circumstances of the charged offenses and the weight of the evidence. Because

   “no condition or combination of conditions will reasonably assure” Smithers’ appearance

   before this Court, the Court should detain Smithers pending retrial. § 3142(e).

            In a case before the United States District Court for the District of Columbia, the

   government opposed the defendant’s release following remand even though the defendant

   had been previously released during the pendency of his original trial. United States v.

   Slatten, 286 F. Supp. 3d 61, 63–64 (D.D.C. 2017), aff’d, 712 F. App’x 15 (D.C. Cir. 2018).

   In that case, the defendant was charged with first-degree murder, of which he had been

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   convicted and received a life sentence. Id. at 66–67. The court of appeals subsequently

   vacated the conviction, and the defendant argued that he should be released pending retrial

   because “he already faced [that] charge once while he was released and did in fact show

   up for trial.” Id. He further submitted letters from family and friends indicating that he

   would never flee while attempting to clear his name. Id. at 67.

          The district court rejected the defendant’s argument, and despite its decision on

   detention pending the original trial, it detained the defendant pending his retrial. Id. at 67,

   70. The court found,

          [S]ince [the defendant] was last on pretrial release he has been convicted by
          a jury on a first-degree murder charge. He’s faced the reality of a life
          sentence in prison. . . . Even though his conviction was vacated, [the
          defendant] was still forced to come to terms with the fact that a jury convicted
          him and that he was sentenced to life in prison. Actually experiencing that,
          as opposed to the theoretical possibility he felt before his first trial, increases
          the risk that he will not be present for his next trial, even though he can now
          present [certain evidence originally excluded].

   Id. at 67. The court held that the nature and circumstances of the offense “weigh[ed]

   heavily in favor of [the defendant’s] detention pending trial.” Id.

          The district court in that case also found that the weight of the evidence supported

   the defendant’s detention pending retrial. Id. The court recognized that the “case [was]

   unique from other detention proceedings as the Court [did] not need to rely on government

   proffers or evidence presented at a suppression hearing. The Court heard all of the evidence

   first-hand.” Id. The court further recognized that the weight of the evidence was so strong

   that a jury had already convicted the defendant. Id. at 68.




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          Finally, while the court acknowledged the defendant’s good behavior in prison,

   when it reweighed the defendant’s history and characteristics—despite all of the incidents

   occurring prior to the court’s original release determination—the court determined that “all

   of [that] evidence can be considered differently in light of the fact that [the defendant] was

   convicted by a jury of first-degree murder.” Id. at 68–69. The court ultimately concluded

   “while it is true that he already faced the possibility of a life sentence and showed up for

   trial the first time, there is a significant difference between being aware of a potential

   sentence and actually beginning to serve the sentence after it has been imposed,” and it

   detained the defendant pending retrial. Id. at 69–70 (citation and internal quotation marks

   omitted). The United States Court of Appeals for the District of Columbia Circuit affirmed.

   712 F. App’x at 16; cf. United States v. Gebro, 948 F.2d 1118, 1122 (9th Cir. 1991) (“[The

   defendant’s] knowledge that a jury has previously rejected his duress defense and his

   knowledge of the fact that he was sentenced to a lengthy period of incarceration [of 132

   months] makes it more likely that he will flee.”). 2

          This case is no different.         Smithers was convicted by a jury following the

   presentation of evidence over seven days, and he was sentenced to a total term of 40 years

   of imprisonment. While Smithers abided by the terms and conditions of his pre-trial release




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     Courts disagree over whether the weight of the evidence is one of the most important or least
   important factors. United States v. Shaheed, 455 F. Supp. 3d 225, 232 (D. Md. 2020) (collecting
   cases); United States v. Chase, No. JKB-19-0473, 2020 WL 2319132, at *4 n.3 (D. Md. May 11,
   2020) (declining to take a “position on the relative weight of this factor, and instead tak[ing] it
   under consideration along with the other factors enumerated in the Bail Reform Act”). While the
   Gebro court found it to be “the least important of the factors,” it still considered the weight of the
   evidence in denying the defendant’s motion for release pending retrial. 948 F.2d at 1121–22.
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   pending his original trial, his risk of flight has significantly increased now that the potential

   for a lengthy sentence has proved a reality. Actually experiencing a 40-year sentence—for

   serious conduct, including two charges that allege his conduct resulted in the death of

   Heather Hartshorn—over the past four and a half years “increases the risk that he will not

   be present for his next trial.” Slatten, 286 F. Supp. 3d at 67.

          And like the case before the District for the District of Columbia, the weight of the

   evidence supports Smithers’ detention. After being discharged from his medical residency

   in 2013 for making false statements, JA1048–49, 1200–01, Smithers eventually opened a

   clinic in West Virginia. However, in June 2015, he abandoned it overnight after authorities

   arrived for an inspection. Regulators later determined Smithers operated an unauthorized

   pain clinic. JA226–31, 233, 1213–14. By August 2015, Smithers opened the southside

   Virginia (Martinsville) clinic at issue in this case. JA236, 743, 1057–58, 1174, 1189.

   Smithers’ Virginia clinic did not resemble a legitimate medical practice.

          Smithers usually either was not at the office or arrived after lunch. He thus kept

   pre-signed prescriptions for staff to distribute to patients for $300. Some patients waited

   8-to-12 hours, sometimes longer. Smithers also directed staff to mail prescriptions to

   addresses he provided. He did not accept insurance. His waiting and examination rooms

   were largely barren, lacked medical supplies, and contained random items like toys, a

   nightstand, and an inflatable mattress. JA541–42, 548, 550–51, 568, 584, 1895–1901,

   1916–17. Every patient received pain pills, even though patients and staff discussed

   patients selling medication, and acknowledged Smithers’ narcotic prescriptions amounted

   to illicit drugs. JA258, 398, 524, 529–35, 562, 541–43, 546–47, 953, 1225–28, 1937–38.

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          Smithers’ patrons came from hundreds of miles away to get his prescriptions. A

   map (Exhibit 50) locating each patient and prescription covered by the indictment (as well

   as various pharmacies used) depicted central Appalachia and the Ohio Valley. Clusters of

   patients whose prescriptions were indicted corresponded to “crews”—groups organized by

   a sponsor to obtain controlled substances from Smithers. Darryl Williams led one crew

   near the West Virginia-Kentucky border, and Rick and Rebecca Jessie headed another from

   Kentucky. Smithers testified his relationship with Williams “was not standard practice.”

   JA1156. Patients slept in the Smithers’ parking lot, or undressed or urinated outside; a sign

   in Smithers’ office warned he’d fine them $50 for urinating outside. JA235–38, 659–61,

   827, 1910, 1918, 2211.

          Smithers did not employ qualified medical staff. He hired a restaurant waiter

   without medical experience, Juan Angel. Smithers paid him cash to collect patients’ cash-

   payments. Angel testified he found it “very” weird that Smithers’ patients came from other

   states. JA623. Angel conducted drug screenings, but female patients were not observed

   because there was no female staff. JA528–29, 582–84, 613–23, 1194, 1225. Smithers also

   hired contractor Peter Bodai (to collect and log patients’ fees) when Bodai appeared

   unannounced after Bodai’s prior pain clinic was shut down. JA511–22, 524–28, 553–61,

   1194, 1336–1618 (logs). Bodai slept in the office during the workweek and had a sexual

   relationship with Ohio patient Shannon Kovaleski. He testified at trial that Smithers’ clinic

   was not a “real” doctor’s office; he would not go there for a legitimate medical problem.

   JA537, 542–44, 584, 1901.



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       A local pharmacist testified he would not fill Smithers’ prescriptions. JA240–45.

Indeed, Smithers warned patients against using local pharmacies, instead steering them to

ones hours away and even requesting they stay open late to accommodate his patients. E.g.,

JA545, 1223–24, 1226–27, 1941–42, 2297–98. 3

       The Government’s brief before the Fourth Circuit further summarized the following

evidence adduced at trial: 1) the evidence supporting the 859 distribution counts stemming

from Smithers’ prescriptions to 50 patients; 2) Smithers’ own text messages describing the

enterprise; 3) expert testimony; and 4) the evidence supporting the two counts alleging

Smithers’ conduct resulted in Heather Hartshorn’s death. All of this evidence was already

sufficient to convict Smithers; and while the jury will need to be instructed differently on

retrial due to the change in the law announced by the Supreme Court—similar to the case

out of the District for the District of Columbia where additional evidence was required to

be permitted during retrial, see Slatten, 286 F. Supp. 3d at 68—the weight of the

overwhelming evidence supports Smithers’ detention.

       The remaining factors under § 3142(g) should be considered against the backdrop

of the changes since Smithers was originally released on bond in August 2017—that is,

1) the reality of a 40-year sentence rather than just the possibility of a lengthy sentence,

2) the substantial weight of the Government’s evidence, 3) Judge Jones’s immediate

detention of Smithers upon the jury’s guilty verdict and his denial of Smithers’ motion for



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 Smithers’ practice made approximately $680,000 in deposits, and search warrants uncovered
$57,000 in his office, car, and home. JA638–54, 1911–15, 1919–23, 1948–51.


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reconsideration of bond, see 18 U.S.C. § 3143, and 4) as this Court recognized at the status

conference, the change from just one count alleged at the time of Smithers’ initial detention

hearing to now 860 total counts charged against Smithers, two of which allege that

Smithers’ conduct resulted in the death of Heather Hartshorn and would carry a mandatory

minimum sentence of 20 years upon conviction, see Smithers, 92 F.4th at 245 n.2. See

Slatten, 286 F. Supp. 3d at 69. If convicted again, Smithers faces a recommended sentence

under the United States Sentencing Guidelines of life imprisonment. See Smithers, 92

F.4th at 245 n.2.

       Moreover, as to the third factor, Smithers abused his employment to take advantage

of dozens of individuals across Appalachia and the Ohio Valley—as well as the opioid

crisis that has plagued this district. These factors—against the presumption of detention—

evince that no condition, or combination of conditions, can reasonably assure Smithers’

appearance pending retrial. See § 3142(e).

       Even if the Court finds that Smithers has overcome the presumption of detention in

this case, the presumption should be considered another factor in this Court’s detention

determination. See Stricklin, 932 F.2d at 1355. “[T]he presumption reflects Congress’s

substantive judgment that particular classes of offenders should ordinarily be detained prior

to trial.” United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010) (collecting cases); see

United States v. Crump, No. 7:22-cr-00016, 2022 WL 796702, at *2 (W.D. Va. Mar. 15,

2022) (“[T]he presumption of dangerousness [for a violation of 21 U.S.C. § 841(a)(1)]

represents Congressional findings that certain offenders . . . are likely to continue to engage

in criminal conduct undeterred either by the pendency of charges against them or by the

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imposition of monetary bond or other release conditions.” (quoting United States v.

Dominguez, 783 F.2d 702, 707 (7th Cir. 1986) (first and third alterations in original))).

       As Judge Jones succinctly summarized at Smithers’ sentencing hearing, “[In 20-

plus years], I’ve presided over a number of cases with a physician charged with

overprescribing narcotics. This is the worst case that I’ve ever seen.” JA 1320SS.

Congress has determined that defendants charged with certain violations of the Controlled

Substances Act should presumptively be detained. In this case, Smithers has 860 such

charges pending against him. In conjunction with the nature and circumstances of those

charged offenses and the weight of the evidence, the Government respectfully moves for

Smithers’ detention pending retrial.

       IV.    Conclusion.

       The Government respectfully submits that Smithers has not overcome the

presumption of detention in this case. Even if the Court finds that Smithers has satisfied

this burden, the factors set forth under § 3142(g) counsel against Smithers’ release.

Accordingly, this Court should detain Smithers pending retrial.




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Respectfully submitted,

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                             CERTIFICATE OF SERVICE
      I hereby certify that on March 13, 2024, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send a copy to the counsel of

record.

                                                 /s/ Corey Hall
                                                 Assistant United States Attorney




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